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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



     Rupert Anyaegbunam,
                                           Civil No.21-13409 (JMV)
     Plaintiff

     v.

     Experian, LLC., et al.                60 DAY ORDER ADMINISTRATIVELY
                                           TERMINATING ACTION
     Defendants.




          It having been reported to the Court that the above-
   captioned action has been settled,


          IT IS on this 2nd day of May, 2022,


          ORDERED that this action and any pending motions are
   hereby administratively terminated; and it is further
          ORDERED that this shall not constitute a dismissal Order
   under Federal Rule of Civil Procedure 41; and it is further
          ORDERED that within 60 days after entry of this Order
   (or such additional period authorized by the Court), the
   parties shall file all papers necessary to dismiss this action
   under Federal Rule of Civil Procedure 41 or, if settlement
   cannot be consummated, request that the action be reopened;
   and it is further
          ORDERED   that,   absent   receipt   from   the   parties    of
   dismissal papers or a request to reopen the action within the
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   60-day period, the Court shall dismiss this action, without
   further notice, with prejudice and without costs.


                               s/ John Michael Vazquez
                               JOHN MICHAEL VAZQUEZ, U.S.D.J.




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